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4                           UNITED STATES DISTRICT COURT

5                          EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,                No.    2:15-cr-190-GEB-6
8                   Plaintiff,
9         v.                                  ORDER REGARDING DEFENDANT LARRY
                                              TODT’S ATTENDANCE OF THE ONGOING
10   LARRY TODT,                              JURY TRIAL
11
                    Defendant.
12

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14             Before the jury trial resumed at the scheduled time on

15   November 29, 2017, a deputy United States Marshal informed the

16   undersigned    that    Defendant     Larry     Todt,    proceeding    in   propria

17   persona, refused to leave the jail cell he occupied and contended

18   that he had food poisoning symptoms.                  The undersigned directed

19   the deputy United States Marshal to remove the Defendant from his

20   jail cell and to escort him to the courtroom, meaning force would

21   be applied to remove Defendant if he did not comply with the

22   directive.     In light of Defendant’s previous rants that he is not

23   the real Defendant in this case and that the district court lacks

24   jurisdiction    over    him,   the   undersigned        wanted   to   speak   with

25   Defendant in order to determine whether he was engaged in a

26   deliberately contrived ploy to needlessly disrupt and delay joint

27   trial proceedings.

28             Subsequently,        another       deputy    United    States    Marshal
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1    informed the undersigned that Defendant was in a United States

2    Marshal’s holding cell in the courthouse and that he refused to

3    take off his orange clothing, issued by the local county jail, to

4    change into civilian clothing.                      The undersigned directed that

5    Defendant be brought to the courtroom so that the undersigned

6    could talk to him and the other parties before the jury appeared.

7    Defendant stated in the courtroom that he had food poisoning

8    symptoms       as    a   result     of    eating      a   peanut    butter      and   jelly

9    sandwich.       He further stated his teeth and bones hurt.                           During

10   the undersigned’s colloquy with Defendant, Defendant stated that

11   he was sick from the same food poisoning symptoms yesterday,

12   which    was    the      first    day    of    trial.     The    undersigned      did    not

13   observe    anything         out   of    the    ordinary    in    Defendant’s     behavior

14   during    the       first   day    of    trial      supporting     his   food   poisoning

15   assertion.

16                  Defendant requested that he be excused from the trial

17   until he determines that his health is improved.                           The question

18   whether to “grant a postponement of . . . trial because of . . .

19   claimed ill health . . . is a matter in the sound discretion of

20   the trial court.”           Stein v. United States, 263 F.2d 579, 581 (9th
21   Cir. 1959); see also United States v. Silverthorne, 430 F.2d 675,

22   677 (9th Cir. 1970) (“[I]t is an established principle of law in

23   this and other circuits that a continuance of a criminal trial

24   based upon physical disability is within the sound discretion of

25   the trial judge”). The undersigned does not credit Defendant’s

26   assertion that he is ill today based on his word alone.                           Rather,
27   Defendant’s         food    poisoning         assertion    is    consistent      with    his

28   tactics aimed at discrediting the court and his obvious decision
                                                     2
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1    to refuse to participate in the trial proceeding.

2                  To prevent further delay and obstruction, the United

3    States Marshal Service is ordered to produce Defendant for trial

4    and   shall   communicate     with   the    undersigned     if    Defendant

5    interferes with this directive.

6    Dated:   November 30, 2017

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